                       Case 18-25361       Doc 30    Filed 04/12/19     Page 1 of 5



                  IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE DISTRICT OF MARYLAND
                              (Baltimore Division)
IN RE:                                  *
BENSON, THOMAS T.                       *       Case No. 18-25361-TJC
BENSON, MARY JEAN                       *
          Debtors                       *       (Chapter 7)
*      *  *      *     *    *     *     *       *      *      *     *                       *

   CHAPTER 7 TRUSTEE’S APPLICATION TO RETAIN BK GLOBAL REAL ESTATE
  SERVICES TO PROCURE CONSENTED PUBLIC SALE PURSUANT TO 11 U.S.C. § 327



       COMES NOW the Chapter 7 Trustee, George Liebmann, and pursuant to 11 U.S.C. § 327, states

as follows:

              1.   George Liebmann is the duly qualified and acting Chapter 7 Trustee of the bankruptcy

   estate of Thomas T. Benson & Mary Jean Benson.

              2. An asset of the bankruptcy estate is real property located at 482 Nolpark Drive, Glen

   Burnie, Maryland 21061, which is legally described as follows: DIST:03 LT 16 BK G SC 2 482

   NOLPARK DRIVE RIPPLING ESTATES MAP REF:15 17 350, hereinafter referred to as the “Real

   Property”.

              3. The Debtors have not declared the Real Property as exempt.

              4. The Debtors listed the Real Property on their schedules as having a value of $227,400.00.

              5. The Real Property is subject to a mortgage held by Shellpoint Mortgage Servicing

   (“Shellpoint”).

              6. The Debtors scheduled a balance due and owing to Shellpoint of $242,546.88 as of the

   date of filing of the bankruptcy.

              7. Based upon the market value of the Real Property provided by the Debtors and the

   scheduled lien, the first mortgage debt is in excess of the market value of the Real Property.

                                                     1
                 Case 18-25361        Doc 30     Filed 04/12/19      Page 2 of 5



       8. The Handbook for Chapter 7 Trustees published by the Executive Office of the United

States Trustee states on pages 4 – 14 under Section 9 “Sales of Assets” (a) General Standards, “A

trustee may sell assets only if the sale will result in a meaningful distribution to creditors.” The

Section further states “the trustee may seek a ‘carve-out’ from a secured creditor and sell the property

at issue if the ‘carve-out’ will result in a meaningful distribution to creditors.” Further, the Section

states “The trustee must also consider whether the cost of administration or tax consequences of any

sale would significantly erode or exhaust the estate’s equity interest in the asset.”

       9. BK Global Real Estate Services (“BK Global”) provides services to trustees, as BK

Global has expertise and experience in assisting the trustee in negotiating with secured creditors to

accomplish the following:

           a.      Sell the Real Property under 11 U.S.C. § 363(b) to whichever party the Chapter 7

   Trustee determines to have made the best qualified offer with the sale approved by the Court,

   pursuant to 11 U.S.C. § 363;

           b.      Obtain the release of the senior mortgage and waive all of its claims against the

   estate with respect to the Real Property (including any deficiency claims resulting from the

   proposed sale);

           c.      Work with the secured mortgage holder to enter into an agreement for an 11

   U.S.C. § 506 surcharge to pay all of the closing expenses associated with the § 363 sale, including

   the payment of a six percent (6%) real estate brokerage commission and reimbursement of their

   out-of-pocket expenses to BK Global and any associated real estate professional, paid from the

   proceeds of the sale, and provide a meaningful carve-out for the benefit of allowed unsecured

   creditors of the Debtors’ estate; and




                                                 2
                 Case 18-25361        Doc 30      Filed 04/12/19     Page 3 of 5



            d.     Make certain the amount of the carve out is clearly set out in the motion to sell

   the Real Property pursuant to 11 U.S.C. § 363.

       10. BK Global will assist the Chapter 7 trustee in negotiations with the first mortgage holder

to obtain the consent of the first mortgage holder for the sale of the Real Property. A carve out from

the sale proceeds of the Real Property for the payment of a six percent (6%) real estate commission

to BK Global and any associated real estate professional, and a carve out from the sale proceeds of

such amount for the benefit of unsecured creditors of the bankruptcy estate, which will result in a

meaningful distribution to the creditors, and upon a successful resolution with the secured creditor,

a separate motion will be filed seeking approval of the settlement terms and conditions.

       11. BK Global will not be entitled to any fees if the first mortgage holder does not grant its

consent or the Court does not grant the motion to approve the sale of the Real Property.

       12. In no event will the bankruptcy estate have any obligation to pay BK Global or associated

real estate professional for their services, or to pay the customary title and closing services. The

terms of the listing agreement and this Application provide that BK Global and listing agent are only

entitled to payment if and when (a) secured creditor grants its consent, (b) the motion to approve sale

is granted and (c) the Real Property is sold, in which event BK Global and listing agent will receive

a six percent (6%) real estate brokerage commission and obtain reimbursement of any out-of-pocket

expenses.

       13. The trustee believes that the highest and best value for the Real Property will be generated

through a sale in which the Real Property is widely marketed to the public and offered at the highest

price that the market will bear. The Trustee further believes that such a sale is in the best interest of

the Debtors’ bankruptcy estate but can only be achieved if the secured creditor’s consent is first

obtained. The Chapter 7 trustee believes that retaining BK Global and/or an associated real estate


                                                 3
                      Case 18-25361       Doc 30     Filed 04/12/19     Page 4 of 5



   professional to obtain the secured creditor’s consent is in the best interest of the Debtors’ bankruptcy

   estate.

             14. The trustee submits that the terms of employment and compensation as set out in this

   application and the listing agreement (Exhibit “A”), are reasonable in light of the extensive

   experience of BK Global and any associated real estate professional, and the nature of the services

   they provide.

             15. BK Global attested that it is a disinterested person within the meaning of Section 101(14)

   of the Bankruptcy Code and Federal Rule of Bankruptcy Procedure 2014 and 2016(a). Attached

   hereto as Exhibit “B” is an Affidavit of Disinterestedness of BK Global. BK Global also attests,

   pursuant to Bankruptcy Rule 2016, that it shall not split or share its fee with any individual or entity

   other than listing agent or a buyer’s agent, if applicable.

       WHEREFORE, based upon the foregoing, the Chapter 7 trustee seeks the Court’s authority to

retain BK Global in this case and requests that the Court approve the compensation arrangements set

forth in the listing agreement and this application, pursuant to Sections 327, 328(a) and 330 of the

Bankruptcy Code; and for such other and further relief as the Court determines is appropriate.

Dated: April 12, 2019                                    /s/George W. Liebmann
                                                         George W. Liebmann (Fed. Bar No. 01112)
                                                         Liebmann & Shivley, P.A.
                                                         8 West Hamilton Street
                                                         Baltimore, MD 21201
                                                         410-752-5887
                                                         gliebmann@lspa.comcast.biz.net




                                                     4
                    Case 18-25361       Doc 30    Filed 04/12/19     Page 5 of 5



                                  CERTIFICATE OF SERVICE


               I HEREBY CERTIFY that on this 12th day of April 2019, I reviewed the Court’s
CM/ECF system and it reports that an electronic copy of the foregoing Trustee’s Notice of Private Sale
will be served electronically by the Court’s CM/ECF on the following:


Melvin J. Caldwell mcaldwell@caldwellandwhitehead.com,
      kwhitehead@caldwellandwhitehead.com

Katherine Loverde    bankruptcy@albalawgroup.com


       I HEREBY FURTHER CERTIFY that on the 12th day of April 2019, a copy of the foregoing
Trustee’s Notice of Private Sale was almost mailed first class, postage prepaid to:


Office of the U.S. Trustee                            Thomas T. Benson
Garmatz Federal Courthouse                            Mary Jean Benson
101 W. Lombard St., Rm. 2625                          42 Anchor Way
Baltimore, MD 21201                                   Berlin, MD 21811


Shellpoint Mortgage Servicing
P.O. Box 740039
Cincinnati, OH 45274-0039




                                              /s/ George W. Liebmann
                                                George W. Liebmann




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